                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA




UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:08-CR-119-3
       v.                                             )
                                                      )       JUDGE COLLIER
                                                      )       MAGISTRATE JUDGE LEE
GARY W. WESTFIELD                                     )


                                            ORDER


       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the eighteen-count

superseding indictment (2) accept Defendant’s plea of guilty to the lesser included offense of the

charge in Count One, that is of conspiracy to distribute and possess with intent to distribute cocaine

base in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); (3) adjudicate Defendant guilty of the lesser

included offense of the charge in Count One, that is of conspiracy to distribute and possess with

intent to distribute cocaine base in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); (4) defer a

decision on whether to accept the plea agreement until sentencing; and (5) find Defendant shall

remain in custody until sentencing in this matter (Court File No. 54). Neither party filed a timely

objection to the report and recommendation. After reviewing the record, the Court agrees with the

magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

the magistrate judge’s report and recommendation (Court File No. 54) pursuant to 28 U.S.C. §

636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the superseding



Case 1:08-cr-00119-CLC-SKL           Document 57 Filed 04/16/09              Page 1 of 2      PageID
                                           #: 119
            Indictment is GRANTED;

      (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

            that is of conspiracy to distribute and possess with intent to distribute cocaine base

            in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C) is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

            in Count One, that is of conspiracy to distribute and possess with intent to distribute

            cocaine base in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C);

      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (4)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on June 18, 2009 at 2:00 p.m. before the Honorable Curtis

            L. Collier.

      SO ORDERED.

      ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




                                              2


Case 1:08-cr-00119-CLC-SKL        Document 57 Filed 04/16/09             Page 2 of 2       PageID
                                        #: 120
